               Case 20-20387-VFP                   Doc 1        Filed 09/08/20 Entered 09/08/20 15:10:19                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Ahmed
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        A
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Zayat
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Ephraim David Zayat
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0117
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Ahmed A Zayat                                                                             Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 598 Warwick Ave.
                                 Teaneck, NJ 07666
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Bergen
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
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Debtor 1    Ahmed A Zayat                                                                                 Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Ahmed A Zayat                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
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Debtor 1    Ahmed A Zayat                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Ahmed A Zayat                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Ahmed A Zayat
                                 Ahmed A Zayat                                                     Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     September 8, 2020                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Ahmed A Zayat                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Jay L. Lubetkin                                                Date         September 8, 2020
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Jay L. Lubetkin
                                Printed name

                                Rabinowitz, Lubetkin & Tully, LLC
                                Firm name

                                293 Eisenhower Parkway
                                Suite 100
                                Livingston, NJ 07039
                                Number, Street, City, State & ZIP Code

                                Contact phone     973-597-9100                               Email address

                                20245 NJ
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Ahmed A Zayat
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,775,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             117,815.42

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,892,815.42

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          4,616,294.68

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         14,755,171.74


                                                                                                                                     Your total liabilities $           19,371,466.42


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              13,875.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              72,903.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Ahmed A Zayat                                                              Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
               Case 20-20387-VFP                                Doc 1         Filed 09/08/20 Entered 09/08/20 15:10:19                                      Desc Main
                                                                             Document     Page 10 of 143
 Fill in this information to identify your case and this filing:

 Debtor 1                    Ahmed A Zayat
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        598 Warwick Ave.                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Teaneck                           NJ        07666-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                            $3,550,000.00               $1,775,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Joint tenant
        Bergen                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                (Property includes 563 Maitland Ave. and 569 Maitland Ave., Teaneck,
                                                                                New Jeresy. Entirety of property is Block 18.08, Lot 13.01 (formerly Lots
                                                                                13, 14, and 15) and Lots 20 and 21. Value based on May 2019 appraisal
                                                                                and estimate as to vacant lots.)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $1,775,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1       Ahmed A Zayat                                                                                       Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      No
      Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Regular home furnishings, beds, couches, tables                                                                          $4,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Laptop, TV, Cellphone, iPad                                                                                              $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Simple wall hanging pictures, nothing remarkable or insured                                                                $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....


Official Form 106A/B                                                    Schedule A/B: Property                                                                     page 2
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 Debtor 1         Ahmed A Zayat                                                                                               Case number (if known)


                                            Everyday clothing                                                                                                       $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Watch, Cufflinks                                                                                                        $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $7,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                 $300.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  Bank of America
                                                                                                  PO Box 15284
                                                                                                  Wilmington, DE 19850
                                              17.1.       Checking                                xxxxxxxx3787                                                          $13.80

                                                                                                  Bank of America
                                                                                                  PO Box 15284
                                                                                                  Wilmington, DE 19850
                                              17.2.       Checking                                xxxxxxxx3795                                                            $0.62


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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 Debtor 1         Ahmed A Zayat                                                                               Case number (if known)

                                            Name of entity:                                                    % of ownership:

                                            Zayat Stables LLC
                                            (Company insolvent. Receiver appointed at
                                            request of secured creditor. Assets being
                                            liquidated. Total asset value approximately
                                            $4,000,000. Total secured debt $22,000,000.
                                            Total additional debt at least $4,000,000.)                              100         %                           $1.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
Official Form 106A/B                                                    Schedule A/B: Property                                                               page 4
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 Debtor 1        Ahmed A Zayat                                                                                                   Case number (if known)

        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                          JPZ Holdings, LLC
                                                          200 East 62nd Street, Apt 8D
                                                          New York, NY, 10065
                                                          Loan receivable subject to offset for amounts owed to JPZ
                                                          Holdings. Net value of receivable is $0.                                                                      $110,000.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                          Counterclaim against MGG Investment Group, secured
                                                          creditor of Zayat Stables, LLC.                                                                                  Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................        $110,315.42


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5
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 Debtor 1         Ahmed A Zayat                                                                                                         Case number (if known)


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $1,775,000.00
 56. Part 2: Total vehicles, line 5                                                                               $0.00
 57. Part 3: Total personal and household items, line 15                                                      $7,500.00
 58. Part 4: Total financial assets, line 36                                                                $110,315.42
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $117,815.42               Copy personal property total          $117,815.42

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,892,815.42




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
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 Fill in this information to identify your case:

 Debtor 1                 Ahmed A Zayat
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      598 Warwick Ave. Teaneck, NJ 07666                             $1,775,000.00                             $25,150.00      11 U.S.C. § 522(d)(1)
      Bergen County
      (Property includes 563 Maitland Ave                                                  100% of fair market value, up to
      and 569 Maitland Ave, Teaneck, NJ.                                                   any applicable statutory limit
      Entirety of property is Block 18.08,
      Lot 13.01 (formerly Lots 13, 14 and
      15) and Lots 20 and 21. Value based
      on May 2019 appraisal.)
      Line from Schedule A/B: 1.1

      598 Warwick Ave. Teaneck, NJ 07666                             $1,775,000.00                               $1,009.58     11 U.S.C. § 522(d)(5)
      Bergen County
      (Property includes 563 Maitland Ave                                                  100% of fair market value, up to
      and 569 Maitland Ave, Teaneck, NJ.                                                   any applicable statutory limit
      Entirety of property is Block 18.08,
      Lot 13.01 (formerly Lots 13, 14 and
      15) and Lots 20 and 21. Value based
      on May 2019 appraisal.)
      Line from Schedule A/B: 1.1

      Regular home furnishings, beds,                                   $4,000.00                                $4,000.00     11 U.S.C. § 522(d)(3)
      couches, tables
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Ahmed A Zayat                                                                               Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Laptop, TV, Cellphone, iPad                                       $1,000.00                                 $1,000.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Simple wall hanging pictures,                                       $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     nothing remarkable or insured
     Line from Schedule A/B: 8.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Everyday clothing                                                 $1,000.00                                 $1,000.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Watch, Cufflinks                                                  $1,000.00                                 $1,000.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                $300.00                                   $300.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bank of America                                            $13.80                                    $13.80        11 U.S.C. § 522(d)(5)
     PO Box 15284
     Wilmington, DE 19850                                                                  100% of fair market value, up to
     xxxxxxxx3787                                                                          any applicable statutory limit
     Line from Schedule A/B: 17.1

     Checking: Bank of America                                              $0.62                                     $0.62       11 U.S.C. § 522(d)(5)
     PO Box 15284
     Wilmington, DE 19850                                                                  100% of fair market value, up to
     xxxxxxxx3795                                                                          any applicable statutory limit
     Line from Schedule A/B: 17.2

     Zayat Stables LLC                                                      $1.00                                     $1.00       11 U.S.C. § 522(d)(5)
     (Company insolvent. Receiver
     appointed at request of secured                                                       100% of fair market value, up to
     creditor. Assets being liquidated.                                                    any applicable statutory limit
     Total asset value approximately
     $4,000,000. Total secured debt
     $22,000,000. Total additional debt at
     least $4,000,000.)
     100 % ownership
     Line from Schedule A/B: 19.1


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Ahmed A Zayat
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Andrew Leicht                            Describe the property that secures the claim:               $400,000.00            $3,550,000.00                      $0.00
         Creditor's Name                          598 Warwick Ave. Teaneck, NJ
                                                  07666
                                                  (Property includes 563 Maitland Ave
                                                  and 569 Maitland Ave, Teaneck, NJ.
                                                  Entirety of property is Block 18.08,
                                                  Lot 13.01 (formerly Lots 13, 14 and
                                                  15) and Lots 20 & 21. Value based
                                                  on May 2019 appraisal.)
                                                  As of the date you file, the claim is: Check all that
         107 Cherry Street                        apply.
         Katonah, NY 10536                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Ahmed A Zayat                                                                                       Case number (if known)
               First Name                  Middle Name                      Last Name


 2.2     Fay Servicing                              Describe the property that secures the claim:                 $1,701,710.41        $3,550,000.00             $0.00
         Creditor's Name                            598 Warwick Ave, Teaneck, NJ
                                                    07666 (Property includes 563
                                                    Maitland Ave and 569 Maitland Ave,
                                                    Teaneck, NJ. Entirety of property is
                                                    Block 18.08, Lot 13.01 (formerly
                                                    Lots 13, 14 & 15) & Lots 20 and 21.
                                                    Value based on May 2019 appraisal.)
                                                    As of the date you file, the claim is: Check all that
         PO Box 619063                              apply.
         Dallas, TX 75261-9063                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     Linda Karasick                             Describe the property that secures the claim:                   $625,000.00        $3,550,000.00    $166,294.68
         Creditor's Name                            598 Warwick Ave, Teaneck, NJ
                                                    07666 (Property includes 563
                                                    Maitland Ave and 569 Maitland Ave,
                                                    Teaneck, NJ. Entirety of property is
                                                    Block 18.08, Lot 13.01 (formerly
                                                    Lots 13, 14 & 15) & Lots 20 and 21.
         200 Old Palisade Road                      Value based on May 2019 appraisal.)
                                                    As of the date you file, the claim is: Check all that
         TH4                                        apply.
         Fort Lee, NJ 07024                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
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                                                                      Document     Page 20 of 143
 Debtor 1 Ahmed A Zayat                                                                                       Case number (if known)
               First Name                  Middle Name                      Last Name


 2.4     Select Portfolio Servicing                 Describe the property that secures the claim:                 $1,389,584.27        $3,550,000.00             $0.00
         Creditor's Name                            598 Warwick Ave, Teaneck, NJ
                                                    07666 (Property includes 563
                                                    Maitland Ave and 569 Maitland Ave,
                                                    Teaneck, NJ. Entirety of property is
                                                    Block 18.08, Lot 13.01 (formerly
                                                    Lots 13, 14 & 15) & Lots 20 and 21.
                                                    Value based on May 2019 appraisal.)
                                                    As of the date you file, the claim is: Check all that
         PO Box 65250                               apply.
         Salt Lake City, UT 84165                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5     Sherif El Zayat                            Describe the property that secures the claim:                   $500,000.00        $3,550,000.00    $500,000.00
         Creditor's Name                            598 Warwick Ave, Teaneck, NJ
                                                    07666 (Property includes 563
                                                    Maitland Ave and 569 Maitland Ave,
                                                    Teaneck, NJ. Entirety of property is
         c/o Kenneth Baum, Esq.                     Block 18.08, Lot 13.01 (formerly
         LAW OFFICES OF                             Lots 13, 14 & 15) & Lots 20 and 21.
         KENNETH L. BAUM LLC                        Value based on May 2019 appraisal.)
                                                    As of the date you file, the claim is: Check all that
         167 Main Street                            apply.
         Hackensack, NJ 07601                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $4,616,294.68
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $4,616,294.68

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Ahmed A Zayat
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Akansas Division of Taxation                           Last 4 digits of account number                          Unknown                 $0.00                 $0.00
              Priority Creditor's Name
              PO Box 919                                             When was the debt incurred?
              Little Rock, AR 72203
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice Only

 2.2          Arizona Division of Taxation                           Last 4 digits of account number                          Unknown                 $0.00                 $0.00
              Priority Creditor's Name
              P.O. Box 29085                                         When was the debt incurred?
              Phoenix, AZ 85038
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice Only


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 50
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 Debtor 1 Ahmed A Zayat                                                                                    Case number (if known)

 2.3      California Division of Taxations                           Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          450 N Street Sacramento                                    When was the debt incurred?
          Sacramento, CA 95814
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only

 2.4      Delaware Division of Taxation                              Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 830                                               When was the debt incurred?
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only

 2.5      Illinois Division of Taxation                              Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          PO BOX 19016                                               When was the debt incurred?
          Springfield, IL 62794
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 50
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 Debtor 1 Ahmed A Zayat                                                                                    Case number (if known)

 2.6      Internal Revenue Service                                   Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          PO Box 7346                                                When was the debt incurred?
          Philadelphia, PA 19101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only

 2.7      Iowa Division of Taxation                                  Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          PO Box 9187                                                When was the debt incurred?
          Des Moines, IA 50306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only

 2.8      Maryland Division of Taxation                              Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          60 West Street                                             When was the debt incurred?
          Suite 102
          Annapolis, MD 21401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 50
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 Debtor 1 Ahmed A Zayat                                                                                    Case number (if known)

          Massachusetts Division of
 2.9      Taxation                                                   Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          100 Cambridge Street                                       When was the debt incurred?
          2nd Floor
          Boston, MA 02114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only

 2.1
 0        New York Division of Taxation                              Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          575 BOICES LANE                                            When was the debt incurred?
          Kingston, NY 12401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only

 2.1
 1        Oklahoma Division of Taxation                              Last 4 digits of account number                        Unknown      $0.00              $0.00
          Priority Creditor's Name
          2501 North Lincoln Boulevard                               When was the debt incurred?
          Oklahoma City, OK 73194
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Notice Only




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 Debtor 1 Ahmed A Zayat                                                                                    Case number (if known)

 2.1
 2          Pennsylvania Division of Taxation                        Last 4 digits of account number                         Unknown                      $0.00                  $0.00
            Priority Creditor's Name
            PO BOX 280413                                            When was the debt incurred?
            Harrisburg, PA 17128
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Notice Only

 2.1
 3          State of New Jersey                                      Last 4 digits of account number                         Unknown                      $0.00                  $0.00
            Priority Creditor's Name
            Division of Taxation                                     When was the debt incurred?
            Gross Income Tax
            50 Barrack Street
            Trenton, NJ 08625
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Notice Only


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 5 of 50
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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.1      Amaroo Farm LLC                                             Last 4 digits of account number                                                           $95,580.71
          Nonpriority Creditor's Name
          6000 Greenwich Pike                                         When was the debt incurred?
          Lexington, KY 40511
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



          Andrew Simoff Horse
 4.2      Transportation, LLC                                         Last 4 digits of account number                                                             $1,928.00
          Nonpriority Creditor's Name
          3719 Old Capitol Trail                                      When was the debt incurred?
          Wilmington, DE 19808
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.3      Ashford Stud/Creekview Farm                                 Last 4 digits of account number                                                             $2,388.59
          Nonpriority Creditor's Name
          5095 Frankfort Road                                         When was the debt incurred?
          PO Box 823
          Versailles, KY 40383
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.4      Ballydoyle Racing                                           Last 4 digits of account number                                                           $23,699.26
          Nonpriority Creditor's Name
          Rathmacarty W                                               When was the debt incurred?
          County Tipperary
          Ireland
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.5      Bank of America                                             Last 4 digits of account number       8287                                                $15,617.89
          Nonpriority Creditor's Name
          100 North Tryon Street                                      When was the debt incurred?
          Charlotte, NC 28255
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6      Bank of America                                             Last 4 digits of account number       0267                                               $190,748.66
          Nonpriority Creditor's Name
          100 North Tryon Street                                      When was the debt incurred?
          Charlotte, NC 28255
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.7      Bank Of America NA                                          Last 4 digits of account number                                                          $101,658.12
          Nonpriority Creditor's Name
          100 North Tryon Street                                      When was the debt incurred?
          Charlotte, NC 28255
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8      Barbara K. Frohlich                                         Last 4 digits of account number                                                        $1,000,000.00
          Nonpriority Creditor's Name
          668 Sewell Pl                                               When was the debt incurred?
          Teaneck, NJ 07666-2135
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.9      Barclay's                                                   Last 4 digits of account number       9662                                                $23,382.05
          Nonpriority Creditor's Name
          P.O. Box 8801                                               When was the debt incurred?
          Wilmington, DE 19899-8801
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.1
 0        Baronne Veterinary Clinic, Inc.                             Last 4 digits of account number                                                           $12,210.34
          Nonpriority Creditor's Name
          1538 1-49 N. Service Road                                   When was the debt incurred?
          Sunset, LA 70584
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 1        Bob Baffert Racing Stables, Inc.                            Last 4 digits of account number                                                          $227,884.71
          Nonpriority Creditor's Name
          PO Box 661912                                               When was the debt incurred?
          Arcadia, CA 91066
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.1      Bob Hubbard Horse Transportation,
 2        Inc.                                                        Last 4 digits of account number                                                               $463.00
          Nonpriority Creditor's Name
          3730 S. Riverside Ave.                                      When was the debt incurred?
          Colton, CA 92324
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 3        Bonnie Acres Ranch                                          Last 4 digits of account number                                                             $9,042.20
          Nonpriority Creditor's Name
          25240 Thoroughbred Lane                                     When was the debt incurred?
          Hemet, CA 92545
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 4        Boothwyn Pharmacy, Inc.                                     Last 4 digits of account number                                                             $1,368.00
          Nonpriority Creditor's Name
          221 Gale Lane                                               When was the debt incurred?
          Kennett Square, PA 19348
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 5        Brad H Cox Racing Stable                                    Last 4 digits of account number                                                          $194,836.19
          Nonpriority Creditor's Name
          PO Box 35487                                                When was the debt incurred?
          Louisville, KY 40231
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 6        Bradbury Farms                                              Last 4 digits of account number                                                             $4,510.00
          Nonpriority Creditor's Name
          99 Bliss Canyon Road                                        When was the debt incurred?
          Bradbury, CA 91008
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 7        Brittany Nakatani                                           Last 4 digits of account number                                                             $1,680.00
          Nonpriority Creditor's Name
          1922 Northstar Way                                          When was the debt incurred?
          #245
          San Marcos, CA 92078
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 8        Brook Ledge Inc                                             Last 4 digits of account number                                                          $163,401.34
          Nonpriority Creditor's Name
          PO Box 56                                                   When was the debt incurred?
          Oley, PA 19547
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 9        Brookstone Farm                                             Last 4 digits of account number                                                           $16,910.78
          Nonpriority Creditor's Name
          838 East High Street                                        When was the debt incurred?
          #281
          Lexington, KY 40502
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.2
 0        Capital One                                                 Last 4 digits of account number       9429                                                $30,380.32
          Nonpriority Creditor's Name
          PO Box 30285                                                When was the debt incurred?
          Salt Lake City, UT 84130-0287
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.2
 1        Cedarview                                                   Last 4 digits of account number                                                        $7,900,000.00
          Nonpriority Creditor's Name
          One Penn Plaza                                              When was the debt incurred?
          45th Floor
          New York, NY 10119
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.2
 2        Chase                                                       Last 4 digits of account number       9848                                                $20,110.71
          Nonpriority Creditor's Name
          1 United Nations Plaza                                      When was the debt incurred?
          New York, NY 10017
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.2
 3        Chase                                                       Last 4 digits of account number       6283                                                $33,316.29
          Nonpriority Creditor's Name
          Cardmember Services                                         When was the debt incurred?
          PO Box 6294
          Carol Stream, IL 60197-6294
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.2
 4        Chase                                                       Last 4 digits of account number       7930                                                $28,656.00
          Nonpriority Creditor's Name
          PO Box 6294                                                 When was the debt incurred?
          Carol Stream, IL 60197-6294
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.2
 5        Cincinnati Equine                                           Last 4 digits of account number                                                             $2,362.86
          Nonpriority Creditor's Name
          814 Huntersknoll Lane                                       When was the debt incurred?
          Cincinnati, OH 45230
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.2
 6        Creech Horse Transportation, Inc                            Last 4 digits of account number                                                             $4,090.00
          Nonpriority Creditor's Name
          100 Industrial Drive                                        When was the debt incurred?
          Troy, MO 63379
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.2
 7        Crupi's New Castle Farm                                     Last 4 digits of account number                                                               $716.00
          Nonpriority Creditor's Name
          10010 N Hwhy 27                                             When was the debt incurred?
          Ocala, FL 34482
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.2
 8        Daryl G. Easley, DVM, PLLC                                  Last 4 digits of account number                                                               $822.16
          Nonpriority Creditor's Name
          PO Box 11770                                                When was the debt incurred?
          Lexington, KY 40577
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.2
 9        Diamond Valley Equine Clinic                                Last 4 digits of account number                                                                 $28.00
          Nonpriority Creditor's Name
          39185 Valley Rd.                                            When was the debt incurred?
          Hemet, CA 92543
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.3
 0        Donnelley Financial, LLC                                    Last 4 digits of account number                                                               $104.96
          Nonpriority Creditor's Name
          PO Box 842282                                               When was the debt incurred?
          Boston, MA 02284
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.3
 1        Dr. Jeff Schafer DC                                         Last 4 digits of account number                                                               $700.00
          Nonpriority Creditor's Name
          23823 Malibu Rd.                                            When was the debt incurred?
          Ste. 50-227
          Malibu, CA 90265
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.3
 2        Equine Body Works                                           Last 4 digits of account number                                                             $6,825.00
          Nonpriority Creditor's Name
          PO Box 28                                                   When was the debt incurred?
          Burbank, CA 91503
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.3      Equine Health & Wellness by
 3        Bridgett Mah                                                Last 4 digits of account number                                                               $300.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?
          3600 S. Harbor Blvd.
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.3
 4        Equine Medical and Surgical Group                           Last 4 digits of account number                                                               $410.00
          Nonpriority Creditor's Name
          PO Box 661956                                               When was the debt incurred?
          Arcadia, CA 91066
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.3
 5        Equine Medical Center (CA)                                  Last 4 digits of account number                                                             $5,769.96
          Nonpriority Creditor's Name
          10542 Walker Street                                         When was the debt incurred?
          Cypress, CA 90630
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.3
 6        Equine Medical Center of Ocala, FL                          Last 4 digits of account number                                                             $3,000.00
          Nonpriority Creditor's Name
          7107 West Highway 326                                       When was the debt incurred?
          Ocala, FL 34470
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.3
 7        Equine Medicine & Surgery                                   Last 4 digits of account number                                                           $36,760.73
          Nonpriority Creditor's Name
          7991 E. Tesas St.                                           When was the debt incurred?
          Ste 400
          Bossier City, LA 71111
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.3
 8        Equine Therapy, Inc                                         Last 4 digits of account number                                                             $1,075.00
          Nonpriority Creditor's Name
          PO box 583                                                  When was the debt incurred?
          Simpsonville, KY 40067
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.3
 9        EQUIX                                                       Last 4 digits of account number                                                             $8,900.00
          Nonpriority Creditor's Name
          841 Corporate Drive                                         When was the debt incurred?
          Suite 201
          Lexington, KY 40503
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.4
 0        Exclusive Equine Investments, LLC                           Last 4 digits of account number                                                             $8,572.00
          Nonpriority Creditor's Name
          PO Box 770                                                  When was the debt incurred?
          Williston, FL 32696
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.4
 1        Fethard Surgical Ltd.                                       Last 4 digits of account number                                                                 $54.80
          Nonpriority Creditor's Name
          R689                                                        When was the debt incurred?
          Fethard, Tipperary
          Ireland
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.4      Florida Equine Veterinary
 2        Associates, LL                                              Last 4 digits of account number                                                             $1,176.22
          Nonpriority Creditor's Name
          10195 US-27                                                 When was the debt incurred?
          Ocala, FL 34482
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.4
 3        Focal Point                                                 Last 4 digits of account number                                                           $60,000.00
          Nonpriority Creditor's Name
          11150 Santa Monica Blvd                                     When was the debt incurred?
          Los Angeles, CA 90025
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.4
 4        Gilman & Associates DVM's PC                                Last 4 digits of account number                                                                 $25.00
          Nonpriority Creditor's Name
          140 Wedgewood Drive                                         When was the debt incurred?
          Barrington, IL 60010
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.4
 5        Greene Equine Transport, LLC                                Last 4 digits of account number                                                             $6,118.75
          Nonpriority Creditor's Name
          614 Chieftain Dr.                                           When was the debt incurred?
          Fairdale, KY 40118
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.4
 6        Gregory J. Bennett, D.V.M                                   Last 4 digits of account number                                                             $2,726.00
          Nonpriority Creditor's Name
          PO Box 549                                                  When was the debt incurred?
          Elmont, NY 11003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.4
 7        H.E. Sutton Forwarding Co., LLC                             Last 4 digits of account number                                                             $4,750.00
          Nonpriority Creditor's Name
          PO Box 1066                                                 When was the debt incurred?
          Lexington, KY 40588
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.4
 8        Hagyard Equine Medical Institute                            Last 4 digits of account number                                                           $38,999.53
          Nonpriority Creditor's Name
          4250 Iron Works Pike                                        When was the debt incurred?
          Lexington, KY 40511
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.4
 9        Harambe Racing Inc.                                         Last 4 digits of account number                                                               $350.00
          Nonpriority Creditor's Name
          1110 S Bridge Street                                        When was the debt incurred?
          Morrilton, AR 72110
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.5
 0        Hunt & Associates                                           Last 4 digits of account number                                                           $12,811.49
          Nonpriority Creditor's Name
          PO Box 030452                                               When was the debt incurred?
          Elmont, NY 11003-0452
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.5
 1        James D. Kenney D.V.M                                       Last 4 digits of account number                                                               $675.00
          Nonpriority Creditor's Name
          PO Box 717                                                  When was the debt incurred?
          Millstone Township, NJ 08510
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.5
 2        JN Racing Stables Inc.                                      Last 4 digits of account number                                                           $63,822.01
          Nonpriority Creditor's Name
          10477 SW 49th Place                                         When was the debt incurred?
          Cooper City, FL 33328
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.5
 3        Johanna Reimer, VMD                                         Last 4 digits of account number                                                               $355.00
          Nonpriority Creditor's Name
          PO Box 1066                                                 When was the debt incurred?
          Georgetown, KY 40324
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.5
 4        John R. Cummins, D.V.M. LLC                                 Last 4 digits of account number                                                               $465.00
          Nonpriority Creditor's Name
          780 Faulkner Avenue                                         When was the debt incurred?
          Lexington, KY 40505
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.5
 5        Joseph Bodner and Ruth Bodner                               Last 4 digits of account number                                                          $150,000.00
          Nonpriority Creditor's Name
          1410 Somerset Gate                                          When was the debt incurred?
          Teaneck, NJ 07666
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.5
 6        Joseph F. Migliacci, DVM, PA                                Last 4 digits of account number                                                             $3,394.00
          Nonpriority Creditor's Name
          PO Box 540005                                               When was the debt incurred?
          Lake Worth, FL 33454
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.5
 7        JPZ Holdings LLC                                            Last 4 digits of account number                                                          $300,000.00
          Nonpriority Creditor's Name
          200 East 62nd Street, Apt 8D                                When was the debt incurred?
          New York, NY 10065
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.5
 8        KC Horse Transport (Calif)                                  Last 4 digits of account number                                                             $1,976.00
          Nonpriority Creditor's Name
          5940 Rocky Canyon Rd.                                       When was the debt incurred?
          Atascadero, CA 93422
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.5      Kentucky Equine Medical
 9        Associates                                                  Last 4 digits of account number                                                           $19,937.32
          Nonpriority Creditor's Name
          4210 Southern Parkway                                       When was the debt incurred?
          Louisville, KY 40214
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6
 0        Kesmarc, LLC                                                Last 4 digits of account number                                                           $36,607.12
          Nonpriority Creditor's Name
          258 Shannon Run Road                                        When was the debt incurred?
          Versailles, KY 40383
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.6
 1        Kevin Wirth Equine Dentistry LLC                            Last 4 digits of account number                                                                 $95.00
          Nonpriority Creditor's Name
          PO Box 804                                                  When was the debt incurred?
          La Grange, KY 40031
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6
 2        KTM Equine LLC                                              Last 4 digits of account number                                                             $1,140.00
          Nonpriority Creditor's Name
          PO Box 533                                                  When was the debt incurred?
          Bonsall, CA 92003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6
 3        Leonard F. Mandl                                            Last 4 digits of account number                                                           $50,000.00
          Nonpriority Creditor's Name
          13247 Piney Grove Ct.                                       When was the debt incurred?
          Richmond, VA 23238
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.6
 4        Lezceranternetionelanc                                      Last 4 digits of account number                                                             $6,540.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6
 5        Lukas Enterprises, Inc                                      Last 4 digits of account number                                                             $8,156.94
          Nonpriority Creditor's Name
          10760 Via Jacara                                            When was the debt incurred?
          Stanton, CA 90680
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6
 6        Maker Stable LLC                                            Last 4 digits of account number                                                          $120,921.88
          Nonpriority Creditor's Name
          1200 Envoy Circle                                           When was the debt incurred?
          Suite 1204
          Louisville, KY 40299
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.6
 7        Markerstable LLC                                            Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          1200 Envoy Circle                                           When was the debt incurred?
          Suite 1204
          Louisville, KY 40299
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6
 8        Martinez Transportation                                     Last 4 digits of account number                                                             $1,350.00
          Nonpriority Creditor's Name
          6764 Pirch Way                                              When was the debt incurred?
          Elkridge, MD 21075
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.6
 9        Maryjo Robke Equine Therapy, LLC                            Last 4 digits of account number                                                               $650.00
          Nonpriority Creditor's Name
          519 Kingston Avenue                                         When was the debt incurred?
          Louisville, KY 40214
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.7
 0        Melinda J. Blue D.V.M;MS,Inc                                Last 4 digits of account number                                                           $36,071.14
          Nonpriority Creditor's Name
          PO Box 267                                                  When was the debt incurred?
          Hampden, MA 01036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.7
 1        Merchant Advance                                            Last 4 digits of account number                                                          $269,747.60
          Nonpriority Creditor's Name
          488 NE 18th Street                                          When was the debt incurred?
          STE 1215
          Miami, FL 33132
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.7
 2        MGG Investment Group                                        Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          One Penn Plaza                                              When was the debt incurred?
          53rd Floor
          New York, NY 10119
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.7
 3        Michael J Galvin, DVM                                       Last 4 digits of account number                                                             $1,920.00
          Nonpriority Creditor's Name
          335 Rushmore Ave.                                           When was the debt incurred?
          Mamaroneck, NY 10543
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.7
 4        MNSW Continental Associates, LLC                            Last 4 digits of account number                                                           $71,449.22
          Nonpriority Creditor's Name
          1776 On the Green                                           When was the debt incurred?
          67 Park Place East
          8th Floor
          Morristown, NJ 07960
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.7
 5        Mobile Veterinary Service,Inc                               Last 4 digits of account number                                                             $1,540.50
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.7
 6        Mostert                                                     Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          841 Corporate Drive                                         When was the debt incurred?
          Suite 201
          Lexington, KY 40503
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.7
 7        New Day Training Center                                     Last 4 digits of account number                                                           $36,922.50
          Nonpriority Creditor's Name
          14140 US HWY 301                                            When was the debt incurred?
          Citra, FL 32113
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.7      North Atlantic Equine Associates,
 8        PA                                                          Last 4 digits of account number                                                             $1,254.85
          Nonpriority Creditor's Name
          PO Box 300                                                  When was the debt incurred?
          Oceanport, NJ 07757
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.7
 9        Northrop Equine, PLLC                                       Last 4 digits of account number                                                               $574.92
          Nonpriority Creditor's Name
          PO box 21128                                                When was the debt incurred?
          Louisville, KY 40221
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8
 0        Ocala Equine Hospital, P.A.                                 Last 4 digits of account number                                                             $6,164.92
          Nonpriority Creditor's Name
          10855 NW US HWY 27                                          When was the debt incurred?
          Ocala, FL 34482
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8
 1        Payton Traning Center                                       Last 4 digits of account number                                                           $16,989.95
          Nonpriority Creditor's Name
          13373 S. Magnolia Avenue                                    When was the debt incurred?
          Ocala, FL 34473
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.8
 2        Perez Equine Veterinary Services                            Last 4 digits of account number                                                                 $20.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8
 3        Performance Equine Care, LLC                                Last 4 digits of account number                                                             $2,686.50
          Nonpriority Creditor's Name
          DVM 2331 Alta Avenue                                        When was the debt incurred?
          Louisville, KY 40205
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8
 4        Peterson & Smith Equine Hospital                            Last 4 digits of account number                                                           $13,439.79
          Nonpriority Creditor's Name
          4747 SW 60th Avenue                                         When was the debt incurred?
          Ocala, FL 34474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.8
 5        PM Advertising, LLC                                         Last 4 digits of account number                                                               $303.90
          Nonpriority Creditor's Name
          4383 Old Harrodsburg Rd.                                    When was the debt incurred?
          Ste. 115
          Lexington, KY 40513
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8
 6        PMG Operating Account                                       Last 4 digits of account number                                                          $250,000.00
          Nonpriority Creditor's Name
          200 Racetrack Rd.                                           When was the debt incurred?
          Building 26
          Washington, PA 15301
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.8      R J Wolfe DVM EL Moore DVM &
 7        Assoc                                                       Last 4 digits of account number                                                               $584.00
          Nonpriority Creditor's Name
          5694 US HWY 80                                              When was the debt incurred?
          Princeton, LA 71067
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.8
 8        R. Andrews, VMD, PC                                         Last 4 digits of account number                                                           $24,633.48
          Nonpriority Creditor's Name
          PO Box 308                                                  When was the debt incurred?
          Elmont, NY 11003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8
 9        R.G. Brandon, D.V.M.,P.C                                    Last 4 digits of account number                                                             $2,162.00
          Nonpriority Creditor's Name
          PO Box 2146                                                 When was the debt incurred?
          Camden, SC 29020
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.9
 0        Rapido Racing Limited                                       Last 4 digits of account number                                                           $12,046.00
          Nonpriority Creditor's Name
          The Old Station Yard                                        When was the debt incurred?
          Green Road Newmark
          Suffolk
          CB8 9WT 01638 665145
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.9
 1        Reed Equine Associates                                      Last 4 digits of account number                                                               $105.00
          Nonpriority Creditor's Name
          3001 Street Road                                            When was the debt incurred?
          Bensalem, PA 19020
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.9
 2        Richard Baltas Racing Stables                               Last 4 digits of account number                                                          $316,070.12
          Nonpriority Creditor's Name
          250 Belmont Ave.                                            When was the debt incurred?
          Long Beach, CA 90803
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.9
 3        Robert E. Holland Jr., DVM., P.S.C.                         Last 4 digits of account number                                                             $1,037.50
          Nonpriority Creditor's Name
          4605 Charwood Court                                         When was the debt incurred?
          Lexington, KY 40515
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.9
 4        Ron Myers Farrier Service                                   Last 4 digits of account number                                                               $150.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.9
 5        Ronald J. Magrini, VMD                                      Last 4 digits of account number                                                             $1,742.00
          Nonpriority Creditor's Name
          PO Box 385                                                  When was the debt incurred?
          Bonsall, CA 92003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.9
 6        Rood & Riddle Equine Hospital                               Last 4 digits of account number                                                           $54,346.77
          Nonpriority Creditor's Name
          PO Box 12070                                                When was the debt incurred?
          Lexington, KY 40580
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.9      Rood & Riddle Equine Hospital
 7        Saratoga                                                    Last 4 digits of account number                                                               $424.00
          Nonpriority Creditor's Name
          63 Henning                                                  When was the debt incurred?
          Saratoga Springs, NY 12866
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.9      Rood & Riddle Equine Hospital
 8        Wellington                                                  Last 4 digits of account number                                                             $1,036.00
          Nonpriority Creditor's Name
          5320                                                        When was the debt incurred?
          S Shore Blvd.
          Wellington, FL 33449
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.9
 9        Rood & Riddle Veterinary Pharmacy                           Last 4 digits of account number                                                             $1,294.20
          Nonpriority Creditor's Name
          2150 Georgetown Rd.                                         When was the debt incurred?
          Lexington, KY 40511
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 00       Rudy Rodriguez Racing Stable                                Last 4 digits of account number                                                          $394,437.19
          Nonpriority Creditor's Name
          135 Munson Ave.                                             When was the debt incurred?
          West Hempstead, NY 11552
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 01       Rudy Rodriguez Racing Stables                               Last 4 digits of account number                                                          $394,437.19
          Nonpriority Creditor's Name
          135 Munson Ave.                                             When was the debt incurred?
          West Hempstead, NY 11552
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 02       Sallee Horse Vans, Inc.                                     Last 4 digits of account number                                                             $2,331.84
          Nonpriority Creditor's Name
          PO Box 748021                                               When was the debt incurred?
          Cincinnati, OH 45274
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 03       Silver Springs Stud, LLC                                    Last 4 digits of account number                                                               $381.00
          Nonpriority Creditor's Name
          722 Brentsville Road                                        When was the debt incurred?
          Paris, KY 40361
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 04       Slender Equine                                              Last 4 digits of account number                                                               $500.00
          Nonpriority Creditor's Name
          5302 Fan Wood Dr.                                           When was the debt incurred?
          Huntington Beach, CA 92649
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 05       Smolin, Lupin & Co. PA                                      Last 4 digits of account number                                                           $44,346.25
          Nonpriority Creditor's Name
          165 Passaic Ave.                                            When was the debt incurred?
          Fl. 4
          Fairfield, NJ 07004
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 06       Spirit Horse Transportation                                 Last 4 digits of account number                                                               $232.00
          Nonpriority Creditor's Name
          5762 Lincoln Ave.                                           When was the debt incurred?
          Unit 721
          Cypress, CA 90630
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 07       Sports Medicine and Reproduction                            Last 4 digits of account number                                                               $295.00
          Nonpriority Creditor's Name
          62 Woodlawn Ave.                                            When was the debt incurred?
          Saratoga Springs, NY 12866
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 08       Stark Equine Services, LLC                                  Last 4 digits of account number                                                             $6,600.00
          Nonpriority Creditor's Name
          3452 Elk Creek Road                                         When was the debt incurred?
          Taylorsville, KY 40071
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 09       Starting Line Stable, Inc                                   Last 4 digits of account number                                                               $115.00
          Nonpriority Creditor's Name
          487 High Street                                             When was the debt incurred?
          Long Branch, NJ 07740
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 10       Stephen J. Selway, D.V.M. Inc.                              Last 4 digits of account number                                                           $39,737.25
          Nonpriority Creditor's Name
          308 Oak Street                                              When was the debt incurred?
          Hollywood, FL 33019
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 11       Steve Asmussen Racing Stable                                Last 4 digits of account number                                                          $102,541.10
          Nonpriority Creditor's Name
          PO Box 31808                                                When was the debt incurred?
          Edmond, OK 73003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 12       Steve Keefer                                                Last 4 digits of account number                                                          $275,000.00
          Nonpriority Creditor's Name
          5-23 River Road                                             When was the debt incurred?
          Fair Lawn, NJ 07410
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 13       Stevens Equine Services, LLC                                Last 4 digits of account number                                                             $6,393.39
          Nonpriority Creditor's Name
          PO Box 200397                                               When was the debt incurred?
          Arlington, TX 76006
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 14       T & T Equine Therapy, LLC                                   Last 4 digits of account number                                                             $1,740.00
          Nonpriority Creditor's Name
          1835 E Hallandale Beach Blvd.                               When was the debt incurred?
          #776
          Hallandale, FL 33009
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 15       Taylor Made Sales Agency                                    Last 4 digits of account number                                                             $6,182.30
          Nonpriority Creditor's Name
          2765 Union Mill road                                        When was the debt incurred?
          Nicholasville, KY 40340
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 16       TD Horse Transport Inc                                      Last 4 digits of account number                                                               $400.00
          Nonpriority Creditor's Name
          3737 Hollywood Vista Drive                                  When was the debt incurred?
          Highland, CA 92346
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.1      Teigland, Franklin & Brokken,
 17       D.V.M.'S P                                                  Last 4 digits of account number                                                           $26,059.56
          Nonpriority Creditor's Name
          12777 SW 55th Street                                        When was the debt incurred?
          Suite 909
          Fort Lauderdale, FL 33330
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 18       The Green Group                                             Last 4 digits of account number                                                           $25,171.25
          Nonpriority Creditor's Name
          900 Rt. 9                                                   When was the debt incurred?
          6th Floor
          Woodbridge, NJ 07095
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.1      The Law Offices of Aaron J
 19       Lefkowitz, LL                                               Last 4 digits of account number                                                             $1,200.00
          Nonpriority Creditor's Name
          824 Garrison Ave.                                           When was the debt incurred?
          1st Floor
          Teaneck, NJ 07666
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 20       Thoroughbred Transport, Inc.                                Last 4 digits of account number                                                               $220.77
          Nonpriority Creditor's Name
          1171 Wemple Rd.                                             When was the debt incurred?
          Bossier City, LA 71111
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 4.1
 21       Tibor Szlazvik                                              Last 4 digits of account number                                                               $350.00
          Nonpriority Creditor's Name
          2505 SW Soundview Dr.                                       When was the debt incurred?
          Dunnellon, FL 34431
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify



 4.1      Todd A. Pletcher Racing Stables,
 22       Inc.                                                        Last 4 digits of account number                                                          $125,598.69
          Nonpriority Creditor's Name
          73 First Street                                             When was the debt incurred?
          Garden City, NY 11530
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 23       Tom Schuerman                                               Last 4 digits of account number                                                             $3,320.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 46 of 50
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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.1
 24       Triple Crown Horse Transport, Inc.                          Last 4 digits of account number                                                               $495.00
          Nonpriority Creditor's Name
          94 Tanya Circle                                             When was the debt incurred?
          Ocean, NJ 07712
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 25       US Elite LLC                                                Last 4 digits of account number                                                          $188,500.00
          Nonpriority Creditor's Name
          17 Passaic Ave.                                             When was the debt incurred?
          Hawthorne, NJ 07506
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 26       Valentino Equine, LLC                                       Last 4 digits of account number                                                             $1,600.00
          Nonpriority Creditor's Name
          2959 Myrtle Oak Circle                                      When was the debt incurred?
          Fort Lauderdale, FL 33328
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




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 Debtor 1 Ahmed A Zayat                                                                                   Case number (if known)

 4.1
 27       Wavertree Stables                                           Last 4 digits of account number                                                             $1,000.00
          Nonpriority Creditor's Name
          14850 FL 40                                                 When was the debt incurred?
          Ocala, FL 34481
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 28       Winner's Circle Equine Clinic, Inc                          Last 4 digits of account number                                                               $110.70
          Nonpriority Creditor's Name
          39185 Diamond Valley Rd.                                    When was the debt incurred?
          Hemet, CA 92543
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 29       Yarber Farrier Service                                      Last 4 digits of account number                                                               $490.00
          Nonpriority Creditor's Name
          106 Cardinal Ct.                                            When was the debt incurred?
          Cynthiana, KY 41031
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 48 of 50
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 4.1
 30        Yarbrough & Rabenstein, DVM, PA                            Last 4 digits of account number                                                           $13,648.01
           Nonpriority Creditor's Name
           PO Box 1429                                                When was the debt incurred?
           Loxahatchee, FL 33470
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 31        Yellowstone Capital Partners, LLC                          Last 4 digits of account number                                                          $878,000.00
           Nonpriority Creditor's Name
           1 Evertrust Plaza                                          When was the debt incurred?
           Jersey City, NJ 07302
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 32        Zimmer Equine Sports Medicine                              Last 4 digits of account number                                                           $15,714.50
           Nonpriority Creditor's Name
           PO Box 1618                                                When was the debt incurred?
           Weatherford, TX 76086
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim

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6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                      0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.      $                      0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                      0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                      0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $             14,755,171.74

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             14,755,171.74




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 50 of 50
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 Fill in this information to identify your case:

 Debtor 1                  Ahmed A Zayat
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Ahmed A Zayat
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Zayat Stables LLC                                                                     Schedule D, line
                401 Hackensack Ave.                                                                   Schedule E/F, line    4.8
                7E
                                                                                                      Schedule G
                Hackensack, NJ 07601
                                                                                                    Barbara K. Frohlich



    3.2         Zayat Stables LLC                                                                     Schedule D, line
                401 Hackensack Ave.                                                                   Schedule E/F, line 4.55
                7E
                                                                                                      Schedule G
                Hackensack, NJ 07601
                                                                                                    Joseph Bodner and Ruth Bodner



    3.3         Zayat Stables LLC                                                                     Schedule D, line
                401 Hackensack Ave.                                                                   Schedule E/F, line    4.67
                7E
                                                                                                      Schedule G
                Hackensack, NJ 07601
                                                                                                    Markerstable LLC




Official Form 106H                                                              Schedule H: Your Codebtors                               Page 1 of 18
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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.4      Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.71
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Merchant Advance



    3.5      Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.72
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   MGG Investment Group



    3.6      Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.76
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Mostert



    3.7      Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.100
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rudy Rodriguez Racing Stable



    3.8      Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.112
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Steve Keefer



    3.9      Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.125
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   US Elite LLC



    3.10     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.74
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   MNSW Continental Associates, LLC




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.11     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.1
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Amaroo Farm LLC



    3.12     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.2
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Andrew Simoff Horse Transportation, LLC



    3.13     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.3
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Ashford Stud/Creekview Farm



    3.14     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.4
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Ballydoyle Racing



    3.15     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.7
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Bank Of America NA



    3.16     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.10
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Baronne Veterinary Clinic, Inc.



    3.17     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.11
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Bob Baffert Racing Stables, Inc.




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.18     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.12
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Bob Hubbard Horse Transportation, Inc.



    3.19     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.13
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Bonnie Acres Ranch



    3.20     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.14
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Boothwyn Pharmacy, Inc.



    3.21     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.15
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Brad H Cox Racing Stable



    3.22     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.16
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Bradbury Farms



    3.23     Zayat Stables LLC                                                                        Schedule D, line
             401 Hackensack Ave.                                                                      Schedule E/F, line   4.17
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Brittany Nakatani



    3.24     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.18
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Brook Ledge Inc




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.25     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.19
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Brookstone Farm



    3.26     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.25
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Cincinnati Equine



    3.27     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.26
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Creech Horse Transportation, Inc



    3.28     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.27
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Crupi's New Castle Farm



    3.29     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.28
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Daryl G. Easley, DVM, PLLC



    3.30     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.29
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Diamond Valley Equine Clinic



    3.31     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.30
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Donnelley Financial, LLC




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.32     Zayat Stables LLC                                                                        Schedule D, line
             401 Hackensack Ave.                                                                      Schedule E/F, line   4.31
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Dr. Jeff Schafer DC



    3.33     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.32
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Equine Body Works



    3.34     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.33
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Equine Health & Wellness by Bridgett Mah



    3.35     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.34
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Equine Medical and Surgical Group



    3.36     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.35
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Equine Medical Center (CA)



    3.37     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.36
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Equine Medical Center of Ocala, FL



    3.38     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.37
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Equine Medicine & Surgery




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    3.39     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.38
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Equine Therapy, Inc



    3.40     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.39
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   EQUIX



    3.41     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.40
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Exclusive Equine Investments, LLC



    3.42     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.41
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Fethard Surgical Ltd.



    3.43     Zayat Stables LLC                                                                        Schedule D, line
             401 Hackensack Ave.                                                                      Schedule E/F, line  4.42
             7E
                                                                                                      Schedule G
             Hackensack, NJ 07601
                                                                                                   Florida Equine Veterinary Associates, LL



    3.44     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.43
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Focal Point



    3.45     Zayat Stables LLC                                                                        Schedule D, line
             401 Hackensack Ave.                                                                      Schedule E/F, line 4.44
             7E
                                                                                                      Schedule G
             Hackensack, NJ 07601
                                                                                                   Gilman & Associates DVM's PC




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                                                                                                   Check all schedules that apply:
    3.46     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.45
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Greene Equine Transport, LLC



    3.47     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.46
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Gregory J. Bennett, D.V.M



    3.48     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.47
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   H.E. Sutton Forwarding Co., LLC



    3.49     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.48
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Hagyard Equine Medical Institute



    3.50     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.49
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Harambe Racing Inc.



    3.51     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.50
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Hunt & Associates



    3.52     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.51
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   James D. Kenney D.V.M




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    3.53     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.52
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   JN Racing Stables Inc.



    3.54     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.53
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Johanna Reimer, VMD



    3.55     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.54
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   John R. Cummins, D.V.M. LLC



    3.56     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.56
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Joseph F. Migliacci, DVM, PA



    3.57     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.58
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   KC Horse Transport (Calif)



    3.58     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.59
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Kentucky Equine Medical Associates



    3.59     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.60
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Kesmarc, LLC




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    3.60     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.61
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Kevin Wirth Equine Dentistry LLC



    3.61     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.62
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   KTM Equine LLC



    3.62     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.64
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Lezceranternetionelanc



    3.63     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.65
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Lukas Enterprises, Inc



    3.64     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.66
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Maker Stable LLC



    3.65     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.67
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Markerstable LLC



    3.66     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.68
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Martinez Transportation




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    3.67     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.69
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Maryjo Robke Equine Therapy, LLC



    3.68     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.70
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Melinda J. Blue D.V.M;MS,Inc



    3.69     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.73
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Michael J Galvin, DVM



    3.70     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.75
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Mobile Veterinary Service,Inc



    3.71     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.77
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   New Day Training Center



    3.72     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.78
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   North Atlantic Equine Associates, PA



    3.73     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.79
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Northrop Equine, PLLC




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                                                                                                   Check all schedules that apply:
    3.74     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.80
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Ocala Equine Hospital, P.A.



    3.75     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.81
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Payton Traning Center



    3.76     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.82
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Perez Equine Veterinary Services



    3.77     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.83
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Performance Equine Care, LLC



    3.78     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.84
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Peterson & Smith Equine Hospital



    3.79     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.85
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   PM Advertising, LLC



    3.80     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.87
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   R J Wolfe DVM EL Moore DVM & Assoc




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    3.81     Zayat Stables LLC                                                                        Schedule D, line
             401 Hackensack Ave.                                                                      Schedule E/F, line 4.88
             7E
                                                                                                      Schedule G
             Hackensack, NJ 07601
                                                                                                   R. Andrews, VMD, PC



    3.82     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.89
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   R.G. Brandon, D.V.M.,P.C



    3.83     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.90
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rapido Racing Limited



    3.84     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.91
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Reed Equine Associates



    3.85     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.92
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Richard Baltas Racing Stables



    3.86     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.93
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Robert E. Holland Jr., DVM., P.S.C.



    3.87     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.94
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Ron Myers Farrier Service




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    3.88     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.95
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Ronald J. Magrini, VMD



    3.89     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.96
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rood & Riddle Equine Hospital



    3.90     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.97
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rood & Riddle Equine Hospital Saratoga



    3.91     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.98
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rood & Riddle Equine Hospital Wellington



    3.92     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.99
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rood & Riddle Veterinary Pharmacy



    3.93     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.100
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rudy Rodriguez Racing Stable



    3.94     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line 4.101
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Rudy Rodriguez Racing Stables




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    3.95     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line    4.102
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Sallee Horse Vans, Inc.



    3.96     Zayat Stables LLC                                                                        Schedule D, line
             401 Hackensack Ave.                                                                      Schedule E/F, line  4.103
             7E
                                                                                                      Schedule G
             Hackensack, NJ 07601
                                                                                                   Silver Springs Stud, LLC



    3.97     Zayat Stables LLC                                                                        Schedule D, line
             401 Hackensack Ave.                                                                      Schedule E/F, line   4.104
             7E
                                                                                                      Schedule G
             Hackensack, NJ 07601
                                                                                                   Slender Equine



    3.98     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line  4.105
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Smolin, Lupin & Co. PA



    3.99     Zayat Stables LLC                                                                       Schedule D, line
             401 Hackensack Ave.                                                                     Schedule E/F, line   4.106
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Spirit Horse Transportation



    3.10     Zayat Stables LLC                                                                       Schedule D, line
    0        401 Hackensack Ave.                                                                     Schedule E/F, line  4.107
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Sports Medicine and Reproduction



    3.10     Zayat Stables LLC                                                                       Schedule D, line
    1        401 Hackensack Ave.                                                                     Schedule E/F, line   4.108
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Stark Equine Services, LLC




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    3.10     Zayat Stables LLC                                                                       Schedule D, line
    2        401 Hackensack Ave.                                                                     Schedule E/F, line    4.109
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Starting Line Stable, Inc



    3.10     Zayat Stables LLC                                                                       Schedule D, line
    3        401 Hackensack Ave.                                                                     Schedule E/F, line  4.110
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Stephen J. Selway, D.V.M. Inc.



    3.10     Zayat Stables LLC                                                                       Schedule D, line
    4        401 Hackensack Ave.                                                                     Schedule E/F, line 4.111
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Steve Asmussen Racing Stable



    3.10     Zayat Stables LLC                                                                       Schedule D, line
    5        401 Hackensack Ave.                                                                     Schedule E/F, line  4.113
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Stevens Equine Services, LLC



    3.10     Zayat Stables LLC                                                                        Schedule D, line
    6        401 Hackensack Ave.                                                                      Schedule E/F, line 4.114
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   T & T Equine Therapy, LLC



    3.10     Zayat Stables LLC                                                                       Schedule D, line
    7        401 Hackensack Ave.                                                                     Schedule E/F, line 4.115
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Taylor Made Sales Agency



    3.10     Zayat Stables LLC                                                                       Schedule D, line
    8        401 Hackensack Ave.                                                                     Schedule E/F, line  4.116
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   TD Horse Transport Inc




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                                                                                                   Check all schedules that apply:
    3.10     Zayat Stables LLC                                                                       Schedule D, line
    9        401 Hackensack Ave.                                                                     Schedule E/F, line   4.117
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Teigland, Franklin & Brokken, D.V.M.'S P



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    0        401 Hackensack Ave.                                                                     Schedule E/F, line    4.118
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   The Green Group



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    1        401 Hackensack Ave.                                                                     Schedule E/F, line  4.119
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   The Law Offices of Aaron J Lefkowitz, LL



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    2        401 Hackensack Ave.                                                                     Schedule E/F, line 4.120
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Thoroughbred Transport, Inc.



    3.11     Zayat Stables LLC                                                                        Schedule D, line
    3        401 Hackensack Ave.                                                                      Schedule E/F, line   4.121
             7E
                                                                                                      Schedule G
             Hackensack, NJ 07601
                                                                                                   Tibor Szlazvik



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    4        401 Hackensack Ave.                                                                     Schedule E/F, line  4.122
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Todd A. Pletcher Racing Stables, Inc.



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    5        401 Hackensack Ave.                                                                     Schedule E/F, line    4.123
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Tom Schuerman




Official Form 106H                                                             Schedule H: Your Codebtors                              Page 17 of 18
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 Debtor 1 Ahmed A Zayat                                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.11     Zayat Stables LLC                                                                        Schedule D, line
    6        401 Hackensack Ave.                                                                      Schedule E/F, line 4.124
             7E
                                                                                                      Schedule G
             Hackensack, NJ 07601
                                                                                                   Triple Crown Horse Transport, Inc.



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    7        401 Hackensack Ave.                                                                     Schedule E/F, line  4.126
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Valentino Equine, LLC



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    8        401 Hackensack Ave.                                                                     Schedule E/F, line    4.127
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Wavertree Stables



    3.11     Zayat Stables LLC                                                                       Schedule D, line
    9        401 Hackensack Ave.                                                                     Schedule E/F, line   4.128
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Winner's Circle Equine Clinic, Inc



    3.12     Zayat Stables LLC                                                                       Schedule D, line
    0        401 Hackensack Ave.                                                                     Schedule E/F, line   4.129
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Yarber Farrier Service



    3.12     Zayat Stables LLC                                                                       Schedule D, line
    1        401 Hackensack Ave.                                                                     Schedule E/F, line 4.132
             7E
                                                                                                     Schedule G
             Hackensack, NJ 07601
                                                                                                   Zimmer Equine Sports Medicine




Official Form 106H                                                             Schedule H: Your Codebtors                               Page 18 of 18
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Fill in this information to identify your case:

Debtor 1                      Ahmed A Zayat

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Horse Racing                               Speech Pathologist
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Zayat Stables LLC                          Self

       Occupation may include student        Employer's address
                                                                   401 Hackensack Ave.
       or homemaker, if it applies.
                                                                   Hackensack, NJ 07601

                                             How long employed there?         15 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $         13,875.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $   13,875.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Ahmed A Zayat                                                                         Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $        13,875.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
     5e.    Insurance                                                                     5e.        $              0.00     $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
     5g.    Union dues                                                                    5g.        $              0.00     $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $      13,875.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $         13,875.00 = $          13,875.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $          13,875.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Ahmed A Zayat                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             18                   Yes
                                                                                                                                             No
                                                                                   Son                                  20                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                         18,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                        8,898.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                        1,666.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                          800.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                       12,000.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Ahmed A Zayat                                                                             Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                              2,200.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                600.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                              1,000.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,500.00
8.    Childcare and children’s education costs                                                 8. $                                            15,000.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                             1,000.00
10.   Personal care products and services                                                    10. $                                                500.00
11.   Medical and dental expenses                                                            11. $                                              1,000.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 700.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 900.00
      15b. Health insurance                                                                15b. $                                               3,700.00
      15c. Vehicle insurance                                                               15c. $                                               2,200.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  590.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  649.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      72,903.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      72,903.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              13,875.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             72,903.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -59,028.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Ahmed A Zayat
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Ahmed A Zayat                                                         X
              Ahmed A Zayat                                                             Signature of Debtor 2
              Signature of Debtor 1

              Date       September 8, 2020                                              Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Ahmed A Zayat
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00         Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Ahmed A Zayat                                                                               Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                              $0.00         Wages, commissions,
 (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                 $-89,228,583.00            Wages, commissions,
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Ahmed A Zayat                                                                               Case number (if known)



       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       *                                                         *All payments                  Unknown              Unknown          Mortgage
                                                                 were made in the                                                     Car
                                                                 ordinary course,                                                     Credit Card
                                                                 and were paid by,                                                    Loan Repayment
                                                                 or on behalf of the
                                                                                                                                      Suppliers or vendors
                                                                 Debtor, from
                                                                                                                                      Other
                                                                 funds provided to,
                                                                 or for the benefit
                                                                 of the Debtor, by
                                                                 Sherif El Zayat or
                                                                 JPZ Holdings,
                                                                 LLC.


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Sherif El Zayat                                                                               $0.00        $500,000.00       Grant of mortgage in
       c/o Kenneth Baum, Esq.                                                                                                       exchange for
       LAW OFFICES OF KENNETH L.                                                                                                    contemporaneous
       BAUM LLC                                                                                                                     payments to creditors of
       167 Main Street                                                                                                              $500,000.
       Hackensack, NJ 07601
                                                                                                                                    Transfer of mortgage to
                                                                                                                                    secure new loan amount
                                                                                                                                    provided simultenaously
                                                                                                                                    with mortgage.


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       The Mostert Group, LLC                                    Civil                      Kentucky Superior Court                    Pending
       v.                                                                                   Fayette Circuit Court                      On appeal
       Zayat Stables                                                                        120 N Limestone
                                                                                                                                       Concluded
       20-cl-901                                                                            Lexington, KY 40507


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 Debtor 1      Ahmed A Zayat                                                                               Case number (if known)



       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Rudy Rodriguez Racing Stables                             Civil                      Nassau County Clerk                         Pending
       Inc.                                                                                 Mineola, NY 11501                           On appeal
       v.
                                                                                                                                        Concluded
       Zayat Stables LLC
       20-000078

       Merchant Advance                                          Civil                      Supreme Court of the State                  Pending
       v.                                                                                   of New Jersey                               On appeal
       Zayat Stables, LLC d/b/a Zayat                                                       County of Nassau
                                                                                                                                        Concluded
       Stables and JPZ Holdings LLC
       d/b/a JPZ Holdings and Ahmed
       Zayat
       617514/2019

       MGG Investment Group LP                                   Civil                      Commonwealth of                             Pending
       v.                                                                                   Kentucky                                    On appeal
       Ahmed Zayat, et al.                                                                  Fayette Circuit Court
                                                                                                                                        Concluded
       20-CI-00248                                                                          Division 9

       Markerstable LLC                                          Civil                      Jefferson Circuit Court                     Pending
       v.                                                                                   Civil Branch                                On appeal
       Zayat Stables LLC and Ahmed                                                          5th Division                                Concluded
       Zayat
       20-CI-000803


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                      Describe the gifts                                     Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:




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 Debtor 1      Ahmed A Zayat                                                                               Case number (if known)



14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                  Describe what you contributed                          Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Losses imputed to Debtor on                                                                                                                        Unknown
       tax return qualify as "gambling
       losses" due to nature of
       business as horse racing.


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment                Amount of
       Address                                                         transferred                                            or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Rabinowitz, Lubetkin & Tully, LLC                                                                                                                  $7,500.00
       293 Eisenhower Parkway
       Suite 100
       Livingston, NJ 07039
       Funds provided by Sherif El Zayat

       Rabinowitz, Lubetkin & Tully, LLC                               On account of pre-bankruptcy services.                                           $35,312.32
       293 Eisenhower Parkway
       Suite 100
       Livingston, NJ 07039
       Funds provided by Sherif El Zayat


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment                Amount of
       Address                                                         transferred                                            or transfer was              payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Zayat LLC                                                 Took title to some of Teaneck                       EIN:       no longer exists
       598 Warwich Ave.                                          parcels on interim basis.
       Teaneck, NJ 07666                                                                                             From-To


       Zayat Stables LLC                                         Horse Racing                                        EIN:
       401 Hackensack Ave.
       7E                                                        Smolin Lupin                                        From-To    2005 - present
       Hackensack, NJ 07601                                      165 Passaic Avenue, Suite 411
                                                                 Fairfield, NJ 07004



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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        MGG Investment Group
        One Penn Plaza
        53rd Floor
        New York, NY 10119

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Ahmed A Zayat
 Ahmed A Zayat                                                           Signature of Debtor 2
 Signature of Debtor 1

 Date      September 8, 2020                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                  Ahmed A Zayat
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Andrew Leicht                                        Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       598 Warwick Ave. Teaneck, NJ                       Reaffirmation Agreement.
    property             07666                                              Retain the property and [explain]:
    securing debt:       (Property includes 563 Maitland
                         Ave and 569 Maitland Ave,
                         Teaneck, NJ. Entirety of
                         property is Block 18.08, Lot
                         13.01 (formerly Lots 13, 14 and
                         15) and Lots 20 & 21. Value
                         based on May 2019 appraisal.)


    Creditor's         Fay Servicing                                        Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       598 Warwick Ave, Teaneck, NJ                       Reaffirmation Agreement.
                         07666 (Property includes 563
                         Maitland Ave and 569 Maitland
                         Ave, Teaneck, NJ. Entirety of
                         property is Block 18.08, Lot
                         13.01 (formerly Lots 13, 14 & 15)

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Ahmed A Zayat                                                                          Case number (if known)


    property            & Lots 20 and 21. Value based                       Retain the property and [explain]:
    securing debt:      on May 2019 appraisal.)


    Creditor's     Linda Karasick                                           Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      598 Warwick Ave, Teaneck, NJ                        Reaffirmation Agreement.
    property            07666 (Property includes 563                        Retain the property and [explain]:
    securing debt:      Maitland Ave and 569 Maitland
                        Ave, Teaneck, NJ. Entirety of
                        property is Block 18.08, Lot
                        13.01 (formerly Lots 13, 14 & 15)
                        & Lots 20 and 21. Value based
                        on May 2019 appraisal.)


    Creditor's     Select Portfolio Servicing                               Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      598 Warwick Ave, Teaneck, NJ                        Reaffirmation Agreement.
    property            07666 (Property includes 563                        Retain the property and [explain]:
    securing debt:      Maitland Ave and 569 Maitland
                        Ave, Teaneck, NJ. Entirety of
                        property is Block 18.08, Lot
                        13.01 (formerly Lots 13, 14 & 15)
                        & Lots 20 and 21. Value based
                        on May 2019 appraisal.)


    Creditor's     Sherif El Zayat                                          Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      598 Warwick Ave, Teaneck, NJ                        Reaffirmation Agreement.
    property            07666 (Property includes 563                        Retain the property and [explain]:
    securing debt:      Maitland Ave and 569 Maitland
                        Ave, Teaneck, NJ. Entirety of
                        property is Block 18.08, Lot
                        13.01 (formerly Lots 13, 14 & 15)
                        & Lots 20 and 21. Value based
                        on May 2019 appraisal.)

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:

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 Debtor 1      Ahmed A Zayat                                                                         Case number (if known)


                                                                                                                              No
 Description of leased
 Property:                                                                                                                    Yes


 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Ahmed A Zayat                                                            X
       Ahmed A Zayat                                                                    Signature of Debtor 2
       Signature of Debtor 1

       Date        September 8, 2020                                                Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 3

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Ahmed A Zayat
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of New Jersey                                 2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from rental or other real property           $             Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                                $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
               .                                                                              $                                $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =    $

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>             $


              Multiply by 12 (the number of months in a year)                                                                                       x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.    $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Ahmed A Zayat
                Ahmed A Zayat

Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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            Case 20-20387-VFP                         Doc 1 Filed 09/08/20 Entered 09/08/20 15:10:19                       Desc Main
                                                           Document    Page 108 of 143
 Debtor 1    Ahmed A Zayat                                                                        Case number (if known)

                Signature of Debtor 1
        Date September 8, 2020
             MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                            page 3
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 Fill in this information to identify your case:

 Debtor 1            Ahmed A Zayat

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of New Jersey

 Case number                                                                                       Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 122A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                          I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                          90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 122A-1. You
                          I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                          90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                          I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                          I performed a homeland defense activity for at least 90 days,
                          ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                                you may have to file an amended form later.
                          file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                          District of New Jersey
 In re       Ahmed A Zayat                                                                                       Case No.
                                                                                       Debtor(s)                 Chapter    7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                     $                  7,500.00
             Prior to the filing of this statement I have received                                           $                     0.00
             Balance Due                                                                                     $                  7,500.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Sherif El Zayat

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, exemption litigation, relief
               from stay actions or any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 8, 2020                                                                 /s/ Jay L. Lubetkin
     Date                                                                              Jay L. Lubetkin
                                                                                       Signature of Attorney
                                                                                       Rabinowitz, Lubetkin & Tully, LLC
                                                                                       293 Eisenhower Parkway
                                                                                       Suite 100
                                                                                       Livingston, NJ 07039
                                                                                       973-597-9100 Fax: 973-597-9119
                                                                                       Name of law firm




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                                                               United States Bankruptcy Court
                                                                     District of New Jersey
 In re      Ahmed A Zayat                                                                       Case No.
                                                                                Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: September 8, 2020                                             /s/ Ahmed A Zayat
                                                                     Ahmed A Zayat
                                                                     Signature of Debtor




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                        Akansas Division of Taxation
                        PO Box 919
                        Little Rock, AR 72203


                        Amaroo Farm LLC
                        6000 Greenwich Pike
                        Lexington, KY 40511


                        Andrew Leicht
                        107 Cherry Street
                        Katonah, NY 10536


                        Andrew Simoff Horse Transportation, LLC
                        3719 Old Capitol Trail
                        Wilmington, DE 19808


                        Arizona Division of Taxation
                        P.O. Box 29085
                        Phoenix, AZ 85038


                        Ashford Stud/Creekview Farm
                        5095 Frankfort Road
                        PO Box 823
                        Versailles, KY 40383


                        Ballydoyle Racing
                        Rathmacarty W
                        County Tipperary
                        Ireland


                        Bank of America
                        100 North Tryon Street
                        Charlotte, NC 28255


                        Bank of America
                        100 North Tryon Street
                        Charlotte, NC 28255


                        Bank Of America NA
                        100 North Tryon Street
                        Charlotte, NC 28255


                        Barbara K. Frohlich
                        668 Sewell Pl
                        Teaneck, NJ 07666-2135
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                    Barclay's
                    P.O. Box 8801
                    Wilmington, DE 19899-8801


                    Baronne Veterinary Clinic, Inc.
                    1538 1-49 N. Service Road
                    Sunset, LA 70584


                    Bob Baffert Racing Stables, Inc.
                    PO Box 661912
                    Arcadia, CA 91066


                    Bob Hubbard Horse Transportation, Inc.
                    3730 S. Riverside Ave.
                    Colton, CA 92324


                    Bonnie Acres Ranch
                    25240 Thoroughbred Lane
                    Hemet, CA 92545


                    Boothwyn Pharmacy, Inc.
                    221 Gale Lane
                    Kennett Square, PA 19348


                    Brad H Cox Racing Stable
                    PO Box 35487
                    Louisville, KY 40231


                    Bradbury Farms
                    99 Bliss Canyon Road
                    Bradbury, CA 91008


                    Brittany Nakatani
                    1922 Northstar Way
                    #245
                    San Marcos, CA 92078


                    Brook Ledge Inc
                    PO Box 56
                    Oley, PA 19547


                    Brookstone Farm
                    838 East High Street
                    #281
                    Lexington, KY 40502
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                    California Division of Taxations
                    450 N Street Sacramento
                    Sacramento, CA 95814


                    Capital One
                    PO Box 30285
                    Salt Lake City, UT 84130-0287


                    Cedarview
                    One Penn Plaza
                    45th Floor
                    New York, NY 10119


                    Chase
                    1 United Nations Plaza
                    New York, NY 10017


                    Chase
                    Cardmember Services
                    PO Box 6294
                    Carol Stream, IL 60197-6294


                    Chase
                    PO Box 6294
                    Carol Stream, IL 60197-6294


                    Cincinnati Equine
                    814 Huntersknoll Lane
                    Cincinnati, OH 45230


                    Creech Horse Transportation, Inc
                    100 Industrial Drive
                    Troy, MO 63379


                    Crupi's New Castle Farm
                    10010 N Hwhy 27
                    Ocala, FL 34482


                    Daryl G. Easley, DVM, PLLC
                    PO Box 11770
                    Lexington, KY 40577


                    Delaware Division of Taxation
                    P.O. Box 830
                    Wilmington, DE 19899
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                    Diamond Valley Equine Clinic
                    39185 Valley Rd.
                    Hemet, CA 92543


                    Donnelley Financial, LLC
                    PO Box 842282
                    Boston, MA 02284


                    Dr. Jeff Schafer DC
                    23823 Malibu Rd.
                    Ste. 50-227
                    Malibu, CA 90265


                    Equine Body Works
                    PO Box 28
                    Burbank, CA 91503


                    Equine Health & Wellness by Bridgett Mah
                    3600 S. Harbor Blvd.


                    Equine Medical and Surgical Group
                    PO Box 661956
                    Arcadia, CA 91066


                    Equine Medical Center (CA)
                    10542 Walker Street
                    Cypress, CA 90630


                    Equine Medical Center of Ocala, FL
                    7107 West Highway 326
                    Ocala, FL 34470


                    Equine Medicine & Surgery
                    7991 E. Tesas St.
                    Ste 400
                    Bossier City, LA 71111


                    Equine Therapy, Inc
                    PO box 583
                    Simpsonville, KY 40067


                    EQUIX
                    841 Corporate Drive
                    Suite 201
                    Lexington, KY 40503
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                    Exclusive Equine Investments, LLC
                    PO Box 770
                    Williston, FL 32696


                    Fay Servicing
                    PO Box 619063
                    Dallas, TX 75261-9063


                    Fethard Surgical Ltd.
                    R689
                    Fethard, Tipperary
                    Ireland


                    Florida Equine Veterinary Associates, LL
                    10195 US-27
                    Ocala, FL 34482


                    Focal Point
                    11150 Santa Monica Blvd
                    Los Angeles, CA 90025


                    Gilman & Associates DVM's PC
                    140 Wedgewood Drive
                    Barrington, IL 60010


                    Greene Equine Transport, LLC
                    614 Chieftain Dr.
                    Fairdale, KY 40118


                    Gregory J. Bennett, D.V.M
                    PO Box 549
                    Elmont, NY 11003


                    H.E. Sutton Forwarding Co., LLC
                    PO Box 1066
                    Lexington, KY 40588


                    Hagyard Equine Medical Institute
                    4250 Iron Works Pike
                    Lexington, KY 40511


                    Harambe Racing Inc.
                    1110 S Bridge Street
                    Morrilton, AR 72110
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                    Hunt & Associates
                    PO Box 030452
                    Elmont, NY 11003-0452


                    Illinois Division of Taxation
                    PO BOX 19016
                    Springfield, IL 62794


                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101


                    Iowa Division of Taxation
                    PO Box 9187
                    Des Moines, IA 50306


                    James D. Kenney D.V.M
                    PO Box 717
                    Millstone Township, NJ 08510


                    JN Racing Stables Inc.
                    10477 SW 49th Place
                    Cooper City, FL 33328


                    Johanna Reimer, VMD
                    PO Box 1066
                    Georgetown, KY 40324


                    John R. Cummins, D.V.M. LLC
                    780 Faulkner Avenue
                    Lexington, KY 40505


                    Joseph Bodner and Ruth Bodner
                    1410 Somerset Gate
                    Teaneck, NJ 07666


                    Joseph F. Migliacci, DVM, PA
                    PO Box 540005
                    Lake Worth, FL 33454


                    JPZ Holdings LLC
                    200 East 62nd Street, Apt 8D
                    New York, NY 10065
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                    KC Horse Transport (Calif)
                    5940 Rocky Canyon Rd.
                    Atascadero, CA 93422


                    Kentucky Equine Medical Associates
                    4210 Southern Parkway
                    Louisville, KY 40214


                    Kesmarc, LLC
                    258 Shannon Run Road
                    Versailles, KY 40383


                    Kevin Wirth Equine Dentistry LLC
                    PO Box 804
                    La Grange, KY 40031


                    KTM Equine LLC
                    PO Box 533
                    Bonsall, CA 92003


                    Leonard F. Mandl
                    13247 Piney Grove Ct.
                    Richmond, VA 23238


                    Lezceranternetionelanc



                    Linda Karasick
                    200 Old Palisade Road
                    TH4
                    Fort Lee, NJ 07024


                    Lukas Enterprises, Inc
                    10760 Via Jacara
                    Stanton, CA 90680


                    Maker Stable LLC
                    1200 Envoy Circle
                    Suite 1204
                    Louisville, KY 40299


                    Markerstable LLC
                    1200 Envoy Circle
                    Suite 1204
                    Louisville, KY 40299
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                    Martinez Transportation
                    6764 Pirch Way
                    Elkridge, MD 21075


                    Maryjo Robke Equine Therapy, LLC
                    519 Kingston Avenue
                    Louisville, KY 40214


                    Maryland Division of Taxation
                    60 West Street
                    Suite 102
                    Annapolis, MD 21401


                    Massachusetts Division of Taxation
                    100 Cambridge Street
                    2nd Floor
                    Boston, MA 02114


                    Melinda J. Blue D.V.M;MS,Inc
                    PO Box 267
                    Hampden, MA 01036


                    Merchant Advance
                    488 NE 18th Street
                    STE 1215
                    Miami, FL 33132


                    MGG Investment Group
                    One Penn Plaza
                    53rd Floor
                    New York, NY 10119


                    Michael J Galvin, DVM
                    335 Rushmore Ave.
                    Mamaroneck, NY 10543


                    MNSW Continental Associates, LLC
                    1776 On the Green
                    67 Park Place East
                    8th Floor
                    Morristown, NJ 07960


                    Mobile Veterinary Service,Inc
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                    Mostert
                    841 Corporate Drive
                    Suite 201
                    Lexington, KY 40503


                    New Day Training Center
                    14140 US HWY 301
                    Citra, FL 32113


                    New York Division of Taxation
                    575 BOICES LANE
                    Kingston, NY 12401


                    North Atlantic Equine Associates, PA
                    PO Box 300
                    Oceanport, NJ 07757


                    Northrop Equine, PLLC
                    PO box 21128
                    Louisville, KY 40221


                    Ocala Equine Hospital, P.A.
                    10855 NW US HWY 27
                    Ocala, FL 34482


                    Oklahoma Division of Taxation
                    2501 North Lincoln Boulevard
                    Oklahoma City, OK 73194


                    Payton Traning Center
                    13373 S. Magnolia Avenue
                    Ocala, FL 34473


                    Pennsylvania Division of Taxation
                    PO BOX 280413
                    Harrisburg, PA 17128


                    Perez Equine Veterinary Services



                    Performance Equine Care, LLC
                    DVM 2331 Alta Avenue
                    Louisville, KY 40205
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                    Peterson & Smith Equine Hospital
                    4747 SW 60th Avenue
                    Ocala, FL 34474


                    PM Advertising, LLC
                    4383 Old Harrodsburg Rd.
                    Ste. 115
                    Lexington, KY 40513


                    PMG Operating Account
                    200 Racetrack Rd.
                    Building 26
                    Washington, PA 15301


                    R J Wolfe DVM EL Moore DVM & Assoc
                    5694 US HWY 80
                    Princeton, LA 71067


                    R. Andrews, VMD, PC
                    PO Box 308
                    Elmont, NY 11003


                    R.G. Brandon, D.V.M.,P.C
                    PO Box 2146
                    Camden, SC 29020


                    Rapido Racing Limited
                    The Old Station Yard
                    Green Road Newmark
                    Suffolk
                    CB8 9WT 01638 665145


                    Reed Equine Associates
                    3001 Street Road
                    Bensalem, PA 19020


                    Richard Baltas Racing Stables
                    250 Belmont Ave.
                    Long Beach, CA 90803


                    Robert E. Holland Jr., DVM., P.S.C.
                    4605 Charwood Court
                    Lexington, KY 40515
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                    Ron Myers Farrier Service



                    Ronald J. Magrini, VMD
                    PO Box 385
                    Bonsall, CA 92003


                    Rood & Riddle Equine Hospital
                    PO Box 12070
                    Lexington, KY 40580


                    Rood & Riddle Equine Hospital Saratoga
                    63 Henning
                    Saratoga Springs, NY 12866


                    Rood & Riddle Equine Hospital Wellington
                    5320
                    S Shore Blvd.
                    Wellington, FL 33449


                    Rood & Riddle Veterinary Pharmacy
                    2150 Georgetown Rd.
                    Lexington, KY 40511


                    Rudy Rodriguez Racing Stable
                    135 Munson Ave.
                    West Hempstead, NY 11552


                    Rudy Rodriguez Racing Stables
                    135 Munson Ave.
                    West Hempstead, NY 11552


                    Sallee Horse Vans, Inc.
                    PO Box 748021
                    Cincinnati, OH 45274


                    Select Portfolio Servicing
                    PO Box 65250
                    Salt Lake City, UT 84165


                    Sherif El Zayat
                    c/o Kenneth Baum, Esq.
                    LAW OFFICES OF KENNETH L. BAUM LLC
                    167 Main Street
                    Hackensack, NJ 07601
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                    Silver Springs Stud, LLC
                    722 Brentsville Road
                    Paris, KY 40361


                    Slender Equine
                    5302 Fan Wood Dr.
                    Huntington Beach, CA 92649


                    Smolin, Lupin & Co. PA
                    165 Passaic Ave.
                    Fl. 4
                    Fairfield, NJ 07004


                    Spirit Horse Transportation
                    5762 Lincoln Ave.
                    Unit 721
                    Cypress, CA 90630


                    Sports Medicine and Reproduction
                    62 Woodlawn Ave.
                    Saratoga Springs, NY 12866


                    Stark Equine Services, LLC
                    3452 Elk Creek Road
                    Taylorsville, KY 40071


                    Starting Line Stable, Inc
                    487 High Street
                    Long Branch, NJ 07740


                    State of New Jersey
                    Division of Taxation
                    Gross Income Tax
                    50 Barrack Street
                    Trenton, NJ 08625


                    Stephen J. Selway, D.V.M. Inc.
                    308 Oak Street
                    Hollywood, FL 33019


                    Steve Asmussen Racing Stable
                    PO Box 31808
                    Edmond, OK 73003
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                    Steve Keefer
                    5-23 River Road
                    Fair Lawn, NJ 07410


                    Stevens Equine Services, LLC
                    PO Box 200397
                    Arlington, TX 76006


                    T & T Equine Therapy, LLC
                    1835 E Hallandale Beach Blvd.
                    #776
                    Hallandale, FL 33009


                    Taylor Made Sales Agency
                    2765 Union Mill road
                    Nicholasville, KY 40340


                    TD Horse Transport Inc
                    3737 Hollywood Vista Drive
                    Highland, CA 92346


                    Teigland, Franklin & Brokken, D.V.M.'S P
                    12777 SW 55th Street
                    Suite 909
                    Fort Lauderdale, FL 33330


                    The Green Group
                    900 Rt. 9
                    6th Floor
                    Woodbridge, NJ 07095


                    The Law Offices of Aaron J Lefkowitz, LL
                    824 Garrison Ave.
                    1st Floor
                    Teaneck, NJ 07666


                    Thoroughbred Transport, Inc.
                    1171 Wemple Rd.
                    Bossier City, LA 71111


                    Tibor Szlazvik
                    2505 SW Soundview Dr.
                    Dunnellon, FL 34431
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                    Todd A. Pletcher Racing Stables, Inc.
                    73 First Street
                    Garden City, NY 11530


                    Tom Schuerman



                    Triple Crown Horse Transport, Inc.
                    94 Tanya Circle
                    Ocean, NJ 07712


                    US Elite LLC
                    17 Passaic Ave.
                    Hawthorne, NJ 07506


                    Valentino Equine, LLC
                    2959 Myrtle Oak Circle
                    Fort Lauderdale, FL 33328


                    Wavertree Stables
                    14850 FL 40
                    Ocala, FL 34481


                    Winner's Circle Equine Clinic, Inc
                    39185 Diamond Valley Rd.
                    Hemet, CA 92543


                    Yarber Farrier Service
                    106 Cardinal Ct.
                    Cynthiana, KY 41031


                    Yarbrough & Rabenstein, DVM, PA
                    PO Box 1429
                    Loxahatchee, FL 33470


                    Yellowstone Capital Partners, LLC
                    1 Evertrust Plaza
                    Jersey City, NJ 07302


                    Zayat Stables LLC
                    401 Hackensack Ave.
                    7E
                    Hackensack, NJ 07601
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                    Zayat Stables LLC
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                    Zayat Stables LLC
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                    Zimmer Equine Sports Medicine
                    PO Box 1618
                    Weatherford, TX 76086
